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PACER Fee Exemption Request =“""">

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July 15, 2020

OW- 6600!

1 Why the case information from PACER is needed

I am conducting scholarly research on how healthcare companies utilize Chapter 11 bankruptcy.
I will use Chapter 11 bankruptcy docket reports to assess how various motions filed during
bankruptcy affect patient and healthcare-employee outcomes. I will summarize my results
in scholarly research papers that I will submit to academic journals. This exercise requires a
large sample-size to get a comprehensive picture of how healthcare companies use the corpo-
rate bankruptcy system. It is my understanding that obtaining such a sample of bankruptcy
dockets is only possible through PACER.

2 How the case information from PACER will be used

Using the Federal Judicial Center’s Integrated Database (IDB),! I have obtained approxi-
mately 5,000 case numbers corresponding to business Chapter 11 cases filed by healthcare
companies since 2002. For each of these 5,000 cases, I hope to pull the docket report. In
addition, I hope to pull the following documents:

1. For each case, I will pull the filing petition.

2. For each case that concludes with a confirmed plan, I will pull the final confirmed plan.

 

1See https: //www.fjc.gov/research/idb.
Given the large number of cases, I will pull this information using web scraping programs.
I am happy to cooperate with court employee requests in scraping this data.

Using this information, I will construct a dataset, conduct statistical analysis using the
data, and present the results in scholarly papers and presentations. I will eventually submit
these papers to academic journals. J will not sell the data for profit, transfer it or redistribute
it on the internet, or use it for commercial purposes.

3 Why an exemption is necessary

If I pull the docket report, a filing petition, and a plan for each case, that will cost $9.00 per
case (assuming the docket report and each document reaches the $3.00 limit). It could thus
cost as much as $45,000 to pull this information, which I cannot afford. For this reason, I
would be extremely grateful if you would consider my request for an exemption from fees.
Thank you so much for considering my request.

Sincerely,

Ashvin Gandhi
Assistant Professor
UCLA Anderson
Application for Multi-Court Exemption from the

Judicial Conference's Electronic Public Access (EPA) Fees

1.) I am requesting an exemption from fees for public access to electronic case records for the courts

selected below:
Courts of Appeal

[_] All Courts of Appeal
[] First Circuit

[_] Second Circuit

(J Third Circuit

[_] Fourth Circuit

CJ Fifth Circuit

] Sixth Circuit

District Courts
[_] All District Courts
[_] Alabama Middle
[_] Alabama Northern
[_] Alabama Southern
([] Alaska
[] Arizona
["] Arkansas Eastern
(_] Arkansas Western
[_] California Central
(] California Eastern
[[] California Northern
[] California Southern
[-] Colorado
[_] Connecticut
[_] Delaware
[_] District of Columbia
[_] Florida Middle
[[] Florida Northern
[[] Florida Southern
(-] Georgia Northern
[_] Georgia Middle
[-] Georgia Southern
[] Guam
[[] Hawaii
[-] Idaho

[_] Seventh Circuit
[_] Eighth Circuit
([] Ninth Circuit
[_] Tenth Circuit
] Eleventh Circuit
[] D.C. Circuit

[_] Federal Circuit

[] Illinois Northern
[-] Illinois Central

[[] Illinois Southern
[_] Indiana Northern
[_] Indiana Southern
[_] lowa Northern
[_] lowa Southern
[_] Kansas

[_] Kentucky Eastern
[_] Kentucky Western
[-] Louisiana Eastern
[_] Louisiana Middle
[_] Louisiana Western
[] Maine

[-] Maryland

[_] Massachusetts

[_] Michigan Eastern
[_] Michigan Western
[-] Minnesota

[_] Mississippi Northern
(_] Mississippi Southern
[_] Missouri Eastern
[_] Missouri Western
[-] Montana

[_] First Circuit - BAP
(_] Sixth Circuit - BAP
(-] Eighth Circuit - BAP
[J Ninth Circuit - BAP
(_] Tenth Circuit - BAP

[_] Nebraska

[_] Nevada

[-] New Hampshire

[_] New Jersey

[-] New Mexico

[-] New York Eastern

[_] New York Northern

[-] New York Southern

([] New York Western

[_] North Carolina Eastern
[_] North Carolina Middle
[_] North Carolina Western
[_] North Dakota

(_] Northern Mariana Islands
[_] Ohio Northern

[(_] Ohio Southern

[-] Oklahoma Eastern

[-] Oklahoma Northern
[-] Oklahoma Western
[_] Oregon

[_] Pennsylvania Eastern
[_] Pennsylvania Middle
[_] Pennsylvania Western
[_] Puerto Rico

Bankruptcy Appellate Panels (BAP)

[[] Rhode Island

[_] South Carolina

[_] South Dakota

[_] Tennessee Eastern
[_] Tennessee Middle
[_] Tennessee Western
[_] Texas Eastern

[_] Texas Northern

[_] Texas Southern

[_] Texas Western

[_] Utah

[-[] Vermont

[_] Virgin Islands

[_] Virginia Eastern

[] Virginia Western

[_] Washington Eastern
[_] Washington Western
[-] West Virginia Northern
[-] West Virginia Southern
[_] Wisconsin Eastern
{_] Wisconsin Western
[_] Wyoming
 

Bankruptcy Courts

[Xx] All Bankruptcy Courts

[_] Alabama Middle
[_] Alabama Northern
[_] Alabama Southern
(J Alaska

[] Arizona

(J Arkansas Eastern
[[] Arkansas Western
] California Central
(_] California Eastern
] California Northern
[_] California Southern
[_] Colorado

[_] Connecticut

[_] Delaware

[] District of Columbia
[_] Florida Middle

[_] Florida Northern
[_] Florida Southern
[_] Georgia Northern
[_] Georgia Middle

[-] Georgia Southern
] Guam

[_] Hawaii

[_] Idaho

National Courts

Judicial Panel on

[J Mlinois Northern
[_] Mlinois Central

[_] Minois Southern
[-] Indiana Northern
(J Indiana Southern
[_] lowa Northern

[_] lowa Southern
[_] Kansas

(] Kentucky Eastern
[_] Kentucky Western
[_] Louisiana Eastern
[-] Louisiana Middle
[_] Louisiana Western
[_] Maine

[-] Maryland

[_] Massachusetts
[_] Michigan Eastern
[_] Michigan Western
[_] Minnesota

] Mississippi Northern
[_] Mississippi Southern
[_] Missouri Eastern
[_] Missouri Western
[_] Montana

U.S. Court of

O Multidistrict Litigation O Federal Claims

2.) am an individual associated with

(-] Nebraska

[_] Nevada

[-] New Hampshire

(_] New Jersey

[_] New Mexico

[_] New York Eastern

[_] New York Northern
[_] New York Southern

[-] New York Western

[_] North Carolina Eastern
[_] North Carolina Middle
[_] North Carolina Western
[_] North Dakota

(_] Northern Mariana Islands °

[-] Ohio Northern

[_] Ohio Southern

[_] Oklahoma Eastern

[-] Oklahoma Northern
[[] Oklahoma Western
[_] Oregon

[-] Pennsylvania Eastern
[_] Pennsylvania Middle
[_] Pennsylvania Western
[_] Puerto Rico

U.S. Court of

O International Trade

[-] Rhode Island

[_] South Carolina

[-] South Dakota

[_] Tennessee Eastern
[_] Tennessee Middle
[_] Tennessee Western
[_] Texas Eastern

[_] Texas Northern

[_] Texas Southern

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[_] Utah

[_] Vermont

[_] Virgin Islands

[_] Virginia Eastern

(_] Virginia Western

[-] Washington Eastern
[_] Washington Western
(_] West Virginia Northern

[_] West Virginia Southern
[_] Wisconsin Eastern

[_] Wisconsin Western
(_] Wyoming

 

 

Anderson School of Management, UCLA

 

 

 

3.) Please summarize why the case information from the Public Access to Court Electronic Records
(PACER) service is needed and how it will be used. Also, please explain why an exemption from
the courts identified is necessary. If you need more space, please provide in an attachment.

 

 

Please see the attached document for details. Thanks for considering this request!

 

 

 

 
4.) In support of this application, I affirm the following:

a) An exemption from the Judicial Conference's EPA Fee is necessary in order to avoid
unreasonable burdens and to promote public access to information.

b) That the exemption will be for a definitive period of time:

 

 

07/14/2020 - 07/14/2022

 

 

c) I understand that this fee exemption will apply only to me, will be valid only for the purposes
stated above, and will apply only to the electronic case files of the court(s) indicated above that are

available through the PACER service.

d) I agree that any data received through this exemption will not be sold for profit, will not be
transferred, will not be used for commercial purposes, and will not be redistributed via the Internet.

Declaration: I declare that all the above information is true and understand that a false statement
[x] may result in termination of my exempt access and an assessment of Electronic Public Access
usage fees. (The box must be marked or your request will not be considered)

 

 

Ashvin Gandhi

 

(310) 206-5572

 

 

 

Applicant's Printed Name

 

 

 

 

 

 

Assistant Professor

 

 

 

Applicant's Title

 

 

CSpot

Applicant's Signature

 

 

 

 

 

 

 

 

 

 

 

 

 

Applicant's Phone Number

ashvin.gandhi@anderson.ucla.edu
Applicant's email address

110 Westwood Plaza, Cornell Hall D507
Applicant's Mailing Address

Los Angeles CA 90095
City State Zip Code

7/15/20
Date

Please submit your completed, signed request via email to Multi-CourtExemptions@ao.uscourts.gov

or by mail to:

Attention: Multi-Court Exemptions
Court Programs Division
DPS-CSO-PRGD

One Columbus Circle, N.E.
Washington, DC 20544

** Requests sent through the US mail may take up to two weeks to clear security.**
Case 06-60001 Filed 07/29/20 Entered 07/29/20 11:30:33 Doc#53 Page 6 of 70

Alabama - Middle 3
Alabama - Northern 12
Alabama - Southern 6

Alaska 2

Arizona 110
Arkansas - Eastern 7
Arkansas - Western 13
California - Central 223
California - Eastern 19
California - Northern 46
California - Southern 12
Colorado 18
Connecticut 109
Delaware 110
District of Columbia 10

Florida - Middle 107
Florida - Northern 7
Florida - Southern 81

Georgia - Middle 21
Georgia - Northern 83
Georgia - Southern 7

Hawaii 14

Idaho 11

Illinois - Central 16
HWlinois - Northern 83
Illinois - Southern 11
Indiana - Northern 13
Indiana - Southern 42
lowa - Southern 4
Kansas 23
Kentucky - Eastern 23
Kentucky - Western 20
Louisiana - Eastern 15
Louisiana - Middle 8
Louisiana - Western 64
Maine | 7
Maryland 63
Massachusetts 30
Michigan - Eastern 66
Michigan - Western 8
Minnesota 31
Mississippi - Northern 34
Mississippi - Southern 27
Missouri - Eastern 6
Missouri - Western 23
Montana 1

Nebraska 5
Case 06-60001 Filed 07/29/20 Entered 07/29/20 11:30:33 Doc#53 Page7of 70 |

Nevada 34

New Hampshire 3

New Jersey 85

New Mexico 17

New York - Eastern 63
New York - Northern 20
New York - Southern 124
New York - Western 19
North Carolina - Eastern 36
North Carolina - Middle 9
North Carolina - Western 8
North Dakota 2

Ohio - Northern 55
Ohio - Southern 13
Oklahoma - Eastern 17
Oklahoma - Northern 6
Oklahoma - Western 11
Oregon 36
Pennsylvania - Eastern 46
Pennsylvania - Middle 17
Pennsylvania - Western 42
Puerto Rico 86

Rhode Island 2
South Carolina 16
South Dakota 1
Tennessee - Eastern 30
Tennessee - Middle 74
Tennessee - Western 23
Texas - Eastern 40
Texas - Northern 474
Texas - Southern 188
Texas - Western 113
Utah 6

Virgin Islands 1
Virginia - Eastern 27
Virginia - Western 5
Washington - Eastern 7
Washington - Western 22
West Virginia - Northern 6
West Virginia - Southern 21
Wisconsin - Eastern 1
Wisconsin - Western 7
Wyoming 5

Total 3472
